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                  UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION


 In the matter of:                                )
  Master Lending Group, LLC,                      )       CHAPTER 7
                                                  )       CASE NO. 23-40569-EJC
                                                  )
                         Debtor,                  )



                         NOTICE OF POSSIBLE ASSETS
                    AND REQUEST TO SET CLAIMS BAR DATE


To:     Ms. Dana Wilson
        Clerk of the Court
        U.S. Bankruptcy Court
        P.O. Box 8347
        Savannah, GA 31412


Comes now, Tiffany E. Caron, duly appointed and qualified Trustee of the above-caption estate

and hereby requests that a claims bar date be set in the above-entitled case and notice of the same

be sent to all creditors and other parties in interest.


Dated this: July 10, 2023


/s/ Tiffany E. Caron
Chapter 7 Trustee
Savannah Division


P.O. Box 711
West Palm Beach, FL 33402
404-647-4917
Georgia State Bar No. 745089
